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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

ROBERT WINNINGHAM,                                                                 PLAINTIFF
ADC #655327

v.                                   4:19CV00706-JM-JTK

KENDRA ROBERTS, et al.                                                           DEFENDANT

                                            ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney.     There have been no objections. After a review of those

proposed findings and recommendations, the Court adopts them in their entirety. Accordingly,

       IT IS, THEREFORE, ORDERED that:

       1.       Defendants= Motion for Summary Judgment (Doc. No. 35) is GRANTED.

       2.       Plaintiff=s constitutional claims against Defendants are DISMISSED with

prejudice.

       3.       Plaintiff’s state law medical malpractice claim is DISMISSED without prejudice.

       An appropriate Judgment shall accompany this Order.

       IT IS SO ORDERED this 9th day of November, 2020.



                                             _________________________________
                                             JAMES M. MOODY, JR.
                                             UNITED STATES DISTRICT JUDGE




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